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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE: EQUIFAX, INC.,                                     Case No. 1:17-md-2800-TWT
CUSTOMER DATA SECURITY BREACH
LITIGATION


GREG JOHNS, LOLA HUNTER,                                  Case No. 1:17-cv-05342-TWT
YORKMAN LOWE, TIMOTHY MACK, and
LEIGH DUNLAP, individually and on behalf of
all others similarly situated,

             Plaintiffs
v.

EQUIFAX, INC.,

             Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


            Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, Plaintiffs

Greg Johns, Lola Hunter, Yorkman Lowe, Timothy Mack, and Leigh Dunlap hereby

voluntarily dismiss the above-captioned action, No. 1:17-cv-05342-TWT, originally filed

in the United States District Court for the Northern District of California, without

prejudice. As grounds therefore, Plaintiffs state that Equifax, Inc., the sole Defendant in

the action, has not filed an answer or a motion for summary judgment, and this dismissal

will not bind or prejudice any party or member of the putative class.



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Dated: April 23, 2018                    Respectfully submitted,



                                         /s/ Nicholas Diamand
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                                  CERTIFICATE OF SERVICE

            The undersigned hereby certifies that, on this twenty-third day of April, 2018, the

undersigned caused the foregoing document to be electronically filed with the Clerk of

the Court using the CM/ECF system, which will automatically send notification of such

filing to all attorneys of record in this case.



                                                   /s/ Nicholas Diamand
                                                   Nicholas Diamand




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